AO 245B (NCMD Rev. 09/17) Sheet 1 - Judgment in a Criminal Case




                                                 United States District Court
                                                        Middle District of North Carolina
      UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              v.
                                                                                Case Number:                     1:17-CR-00251-1
      HASSIE DEMOND NOWLIN
                                                                                USM Number:                      33929-057

                                                                                   Kathleen A. Gleason, Assistant Federal Public Defender
                                                                                Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count(s) 1, 21 and 31
☐ pleaded nolo contendere to count(s) _____ which was accepted by the court.
☐ was found guilty on count(s) _____ after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:


Title & Section                                        Nature of Offense                                Offense Ended              Count


 26:7212(a)                                              Corrupt Endeavor to Impede the IRS             January 25, 2017            1

 26:7206(2)                                              Aid and Assist in the Preparation of           February 8, 2013            21
                                                         False Tax Returns

 18:157(1)                                               Bankruptcy Fraud                               July 7, 2016                31




        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒    Counts 2-20, 22-30, 32-38 are dismissed on the motion of the United States.

          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material change in the economic circumstances.

                                                                                         November 16, 2017
                                                                                         Date of Imposition of Judgment



                                                                                         Signature of Judge

                                                                                         CATHERINE C. EAGLES, UNITED STATES DISTRICT JUDGE
                                                                                         Name & Title of Judge

                                                                                         December 4, 2017
                                                                                         Date




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AO 245B (NCMD Rev. 09/17) Sheet 2 - Imprisonment                                                                                          Page 2 of 7



DEFENDANT:                          HASSIE DEMOND NOWLIN
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                                                                  IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
37 months.

[36 months as to count 1 to run consecutive to any State sentence imposed; 36 months as to count 21 and 37 months as to count 31
all counts to run concurrently]



☒     The court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to a facility as close as possible to his family in Guilford County, North Carolina.

☐     The defendant is remanded to the custody of the United States Marshal.


☒     The defendant shall surrender to the United States Marshal for this district or the designated facility:

      ☒     at 10:00 a.m. on January 8, 2018.

      ☐     as notified by the United States Marshal.


☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      ☐     before 2 pm on .

      ☐     as notified by the United States Marshal.

      ☐     as notified by the Probation or Pretrial Services Office.




                                                                        RETURN
I have executed this judgment as follows:

      Defendant delivered on ___________________ to ___________________________________ at

_________________________, with a certified copy of this judgment.

                                                                                                             UNITED STATES MARSHAL



                                                                                 BY
                                                                                                           DEPUTY UNITED STATES MARSHAL




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AO 245B (NCMD Rev. 09/17) Sheet 3 - Supervised Release                                                                                        Page 3 of 7



DEFENDANT:                          HASSIE DEMOND NOWLIN
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years.

[1 year as to count 1; 1 year as to count 21 and 3 years as to count 31, to run concurrently]




                                                         MANDATORY CONDITIONS
      1.    You must not commit another federal, state or local crime.
      2.    You must not unlawfully possess a controlled substance
      3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
            imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                      ☐ The above drug testing condition is suspended based on the court’s determination that the defendant poses a low risk of
                           future substance abuse. (Check, if applicable.)
      4.    ☐ You must make restitution in accordance with 18 U.S.C §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
      5.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      6.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C § 16901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a
            student, or were convicted of a qualifying offense. (Check, if applicable.)
      7.    ☐ You must participate in an approved program for domestic violence. (Check, if applicable.)
            You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
            page.




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AO 245B (NCMD Rev. 09/17) Sheet 3A - Supervised Release                                                                                         Page 4 of 7



DEFENDANT:                          HASSIE DEMOND NOWLIN
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                                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
         from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
         must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court
         or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
         becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
         any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
         so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing
         so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify
         the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
         unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
         of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
         getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you
         to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
         that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.



Defendant’s Signature ___________________________________________                      Date_______________________




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AO 245B (NCMD Rev. 09/17) Sheet 3C - Imprisonment, Special Conditions                                                                        Page 5 of 7



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                                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant shall submit to substance abuse testing, at any time, as directed by the probation officer. The defendant shall cooperatively
participate in a substance abuse treatment program, which may include drug testing and inpatient/residential treatment, and pay for treatment
services, as directed by the probation officer. During the course of treatment, the defendant shall abstain from the use of alcoholic beverages.

The defendant shall provide any requested financial information to the probation officer.

The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation officer.

The defendant shall not engage in any occupation related to or involving preparation of tax returns.

The defendant shall notify the probation officer of any material change in his economic circumstances that might affect his ability to pay
restitution, a fine or the special assessment.




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AO 245B (NCMD Rev. 09/17) Sheet 5 - Criminal Monetary Penalties                                                                          Page 6 of 7



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                                                                  CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                            Assessment                     JVTA Assessment*          Fine                               Restitution
TOTALS                      $300.00                                                  $.00                               $188,001.89


     The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case (AO 245C) will
☐    be entered after such determination.



☒    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

     Restitution of $174,470.00 to: IRS-RACS and $13,531.89 to Bank of America




☐      Restitution amount ordered pursuant to plea agreement $


☐      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


☒      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ☒      the interest requirement is waived pursuant to 18 U.S.C. Section 3612(f)(3) for the              ☐ fine   ☒ restitution.

       ☐ the interest requirement for the                     ☐    fine   ☐   restitution is modified as follows:




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

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AO 245B (NCMD Rev. 09/17) Sheet 6 - Schedule of Payments                                                                                Page 7 of 7



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                                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A   ☒       Lump sum payment of $ 188,301.89 due immediately, balance due
            ☐    not later than ______ , or

            ☒    in accordance with ☐ C,              ☒    D,   ☐   , or ☒ F below; or
                                                                    E

B   ☐       Payment to begin immediately (may be combined with              ☐   C, ☐ D, or   ☐   F below); or

C   ☐       Payment in equal ____ (e.g. weekly, monthly, quarterly) installments of $_____ over a period of ______ (e.g., months or years),
            to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D   ☒       Payment in equal monthly installments of $100.00, to commence 60 days after release from imprisonment to a term of supervision; if
            defendant’s financial situation improves, the probation officer can require higher monthly payments
E   ☐       Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from imprisonment.
            The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F   ☒       Special instructions regarding the payment of criminal monetary penalties:

            To the extent the defendant cannot immediately comply, the Court will recommend he participate in the Inmate Financial
            Responsibility Program. The defendant shall transfer all of his interests in the property at 701 South O’Henry Boulevard,
            Greensboro, NC, which shall be applied to the restitution.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are to be made to the Clerk of Court, United States District Court for the Middle District of North Carolina, 324 West
Market Street, Greensboro, NC 27401-2544, unless otherwise directed by the court, the probation officer, or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


☐     Joint and Several

      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate.




☐     The defendant shall pay the cost of prosecution.

☐     The defendant shall pay the following court cost(s):

☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.




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